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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS



                                                                           Civil Action
                                                                           No: 13-11918-NMG


                                      Bern Unlimited, Inc.

                                                v.


                                       Dye Precision, Inc.



                       SETTLEMENT ORDER OF DISMISSAL

GORTON, D.J.


       The Court having been advised that the above captioned action settled:

       It is hereby ORDERED that this action is hereby dismissed without costs and without

prejudice to the right of any party, upon good cause shown, to reopen the action within 30 days if

settlement is not consummated.



                                                                   By the Court,


                                                                   /s/ Christine M. Patch
                                                                   Deputy Clerk


March 14, 2014

To: All Counsel
